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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

JASMIN HERNANDEZ,                               §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §            Civil Action No. 6:16-CV-00069-RP
                                                §
BAYLOR UNIVERSITY et al,                        §
                                                §
       Defendants.                              §

                       AGREED STIPULATION OF DISMISSAL AS
                     TO DEFENDANTS ART BRILES and IAN McCAW

TO THE HONORABLE JUDGE OF THE COURT:

       It is hereby stipulated by and between the parties to this action through their designated

counsel that any and all claims and causes of action asserted against Defendants Art Briles and

Ian McCaw in the above-captioned action are DISMISSED WITH PREJUDICE pursuant to

Federal Rule of Civil Procedure 41(a)(1). The parties shall bear their own costs, attorneys’ fees,

and expenses.

                                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Agreed Stipulation of

Dismissal as to Defendants Art Briles and Ian McCaw was served upon all counsel of record on

this 15th day of August, 2017, via the Court’s ECF/CMF electronic service system.


                                           /s/ Alexander Zalkin
                                           Alexander Zalkin




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